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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     EOLAS TECHNOLOGIES                                   Case No. 17-cv-03022-JST
                                         INCORPORATED,
                                   8                     Plaintiff,                           ORDER RE: ORDER GRANTING
                                   9                                                          DEFENDANTS’ MOTION FOR
                                                  v.                                          SUMMARY JUDGMENT UNDER 35
                                  10                                                          U.S.C. § 101; DENYING DEFENDANTS’
                                         AMAZON.COM, INC,                                     MOTION FOR SUMMARY
                                  11                                                          JUDGMENT OF NON-
                                                         Defendant.                           INFRINGEMENT AS MOOT;
                                  12                                                          DENYING PLAINTIFFS’ MOTION
Northern District of California




                                                                                              FOR SUMMARY JUDGMENT AS
 United States District Court




                                  13                                                          MOOT; DENYING MOTIONS TO
                                                                                              EXCLUDE OR STRIKE EXPERT
                                  14                                                          TESTIMONY AS MOOT

                                  15                                                          Re: ECF No. 858

                                  16           The Court has restricted public access to the order Granting Defendants’ Motion for

                                  17   Summary Judgment Under 35 U.S.C. § 101; Denying Defendants’ Motion for Summary Judgment

                                  18   Of Non-Infringement as Moot; Denying Plaintiffs’ Motion for Summary Judgment as Moot;

                                  19   Denying Motions to Exclude or Strike Expert Testimony as Moot, ECF No. 858, because it

                                  20   contains or refers to material subject to sealing orders. Within seven days of the date of this order,

                                  21   the parties shall file either (1) a stipulated proposed redacted version of the order, redacting only

                                  22   those portions of the order containing or referring to material for which the Court has granted a

                                  23   motion to seal and which the parties still request be sealed, or (2) a stipulation that the parties

                                  24   agree that no redaction is necessary. If the parties propose redactions, they shall also email a PDF

                                  25   copy of the proposed redacted order, without any ECF headers, to jstpo@cand.uscourts.gov. The

                                  26   Court will review the parties’ proposal and issue a redacted version of the order. If the parties

                                  27   stipulate that no redaction is necessary, or if they fail to file a timely stipulation, the Court will

                                  28   allow full access by the public to the unredacted order by removing the restrictions on ECF
                                          Case 4:17-cv-03022-JST Document 859 Filed 05/16/22 Page 2 of 2




                                   1   No. 858.

                                   2         IT IS SO ORDERED.

                                   3   Dated: May 16, 2022
                                                                            ______________________________________
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                                                                                          JON S. TIGAR
                                   5                                                United States District Judge

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Northern District of California
 United States District Court




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